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U.S. DISTR ICT COURT
IN THE UNITED STATES DISTRICT COURPRTHERN DISTRICT OF TEXAS
FOR THE NORTHERN DISTRICT OF TEXAS FILED
AMARILLO DIVISION
OCT 20 20m
UNITED STATES OF AMERICA §
§ t
§ Deputy
Vv. § 2:20-CR-60-Z-BR=(D
§
PATRICK DEJON FLEEKS §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On October 5, 2020, the United States Magistrate Judge issued a Report and Recommendation
Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant
Patrick Dejon Fleeks filed no objections to the Report and Recommendation within the fourteen-day
period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters of
record in the above referenced cause—including the elements of the offense, Factual Resume, Plea
Agreement, and Plea Agreement Supplement—and thereby determined that the Report and
Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by the
United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of Defendant
Patrick Dejon Fleeks was knowingly and voluntarily entered; ACCEPTS the guilty plea of Defendant
Patrick Dejon Fleeks; and ADJUDGES Defendant Patrick Dejon Fleeks guilty of Count One in
violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). Sentence will be imposed in accordance with the

Court’s sentencing scheduling order.

SO ORDERED, October W, 2020.

 

MATAHEW J. KACSMARYK
UNJTED STATES DISTRICT JUDGE
